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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



 TARA MAGGIO,

                               Plaintiff,
       -vs-                                            Civil Action No. 10-CV-6455

 PORTFOLIO RECOVERY
 ASSOCIATES, LLC,

                               Defendant.


                              NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(1) of the Federal Rules of Civil
Procedure, Plaintiff Tara Maggio hereby voluntarily dismisses the present action against
Defendant Portfolio Recovery Associates, LLC, with prejudice, with each party bearing their
own costs, expenses and attorney fees.



Date: September 13, 2010



                                                        /s/Frank J. Borgese
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